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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


BRIAN KIRK MALPASSO                             )
39034 Cooney Neck Road                          )
Mechanicsville, St. Mary’s County,              )
MD 20659, and                                   )
                                                )
MARYLAND STATE RIFLE AND PISTOL                 )
ASSOCIATION, INC.                               )
307 W. Pennsylvania Avenue                      )
Towson, Baltimore County, MD 21204              )
                                                ) Civil Action No. 18-1064
                      Plaintiffs,               )
                                                )
       v.                                       )
                                                )
WILLIAM M. PALLOZZI, in his official            )
capacity as Maryland Secretary of State Police, )
Department of State Police                      )
1201 Reisterstown Road                          )
Pikesville, Baltimore County, MD 21208,         )
                                                )
                      Defendant.



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Brian Kirk Malpasso and the Maryland State Rifle and Pistol Association, Inc.

(collectively “Plaintiffs”), by and through the undersigned attorneys, file this Complaint against

the above-captioned Defendant, in his official capacity as the Secretary of Maryland’s

Department of State Police. Plaintiffs seek declaratory and injunctive relief: a declaration that

Maryland’s limitation of the right to carry handguns to those who can satisfy licensing officials

that they have a “good and substantial reason” to exercise that right is unconstitutional under the

Second and Fourteenth Amendments to the United States Constitution, and an injunction

compelling Defendant to refrain from enforcing that invalid limit and to issue handgun carry

licenses to Plaintiff Malpasso and members of Plaintiff Maryland State Rifle and Pistol
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Association or to otherwise allow such persons to exercise their right to carry handguns outside

the home. In support of their Complaint against Defendant, Plaintiffs hereby allege as follows:

                                        INTRODUCTION

       1.       The Second Amendment to the United States Constitution guarantees “the right of

the people to keep and bear Arms.” U.S. CONST. amend. II. When the People, by enacting that

amendment, enshrined in their fundamental charter the right to “carry weapons in case of

confrontation” for the “core lawful purpose of self-defense,” District of Columbia v. Heller, 554

U.S. 570, 592, 630 (2008), they did not mean to leave the freedom to exercise that right at the

mercy of the very government officials whose hands they sought to bind. No, “[t]he very

enumeration of the right takes out of the hands of government . . . the power to decide on a case-

by-case basis whether the right is really worth insisting upon.” Id. at 634.

       2.       In defiance of that constitutional guarantee, Maryland has seized precisely the

power forbidden it by the Second Amendment: the power to decide, on a case-by-case basis,

whether an applicant for a license to “carry weapons in case of confrontation,” id. at 592, has, in

the State’s estimation, shown a sufficiently “good and substantial reason” that a license should

issue, MD. CODE PUB. SAFETY § 5-306(a)(6)(ii).

       3.       Worse still, Maryland has made clear that a general desire to carry a handgun for

the purpose of self-defense—“the central component” of the Second Amendment, Heller, 554

U.S. at 599 (emphasis added)—is not a sufficiently good reason to exercise the right. Instead,

according to Maryland, an ordinary citizen must provide documented evidence of concrete

threats or recent assaults to obtain a permit from the state to carry a handgun in public. That

restriction is akin to a state law concluding that the general desire to advocate for lawful political

change is not a sufficiently “good and substantial reason” to exercise the right to free speech, and




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it cuts to the very core of the Second Amendment, no less than such a restriction would gut the

First.

         4.       Indeed, the practical effect of Maryland’s “good and substantial reason”

requirement is to make it wholly illegal for typical law-abiding citizens to carry handguns in

public—for by definition, these ordinary citizens cannot make the atypical showing that they

face a specific, documented threat to their safety.

         5.       Plaintiff Malpasso is an ordinary, law-abiding citizen of Maryland who wishes to

carry a handgun outside his home for the purpose of self-defense. He has passed all required

background checks, completed all required firearm training courses, and met every other

qualification imposed by Maryland on the eligibility for a permit to carry handguns in public—

except that like the vast majority of ordinary, law-abiding Maryland residents, he cannot

document a specific clear and present threat to his safety. Accordingly, Defendant determined

that Mr. Malpasso has not shown a “good and substantial reason” why he should be allowed to

exercise his Second Amendment rights, and he denied his permit application. That result simply

cannot be squared with the rights guaranteed by the Second Amendment.

         6.       Plaintiffs acknowledge that the result they seek is contrary to Woollard v.

Gallagher, 712 F.3d 865 (4th Cir. 2013), but, for the reasons explained in Wrenn v. District of

Columbia, 864 F.3d 650 (D.C. Cir. 2017), that case was wrongly decided. They therefore

institute this litigation to vindicate their Second Amendment rights and to seek to have Woollard

overruled.

                                   JURISDICTION AND VENUE

         7.       This Court has subject-matter jurisdiction over Plaintiffs’ claim under 28 U.S.C.

§§ 1331 and 1343.




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         8.       Plaintiffs seek remedies under 28 U.S.C. §§ 1651, 2201, and 2202 and 42 U.S.C.

§§ 1983 and 1988.

         9.       Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) & (b)(2).

                                              PARTIES

         10.      Plaintiff Brian Kirk Malpasso is a citizen of the United States and a resident and

citizen of the State of Maryland. He resides at 39034 Cooney Neck Road, Mechanicsville, MD

20659.

         11.      Plaintiff Maryland State Rifle and Pistol Association, Inc. (“MSRPA”) is a group

organized to defend the right of Maryland residents to keep and bear arms. The Maryland

restrictions on the public carrying of handguns at issue in this case are thus a direct affront to

MSRPA’s central mission. MSRPA has thousands of members who reside in Maryland. Its

official address is 307 W. Pennsylvania Avenue, Towson, MD 21204. Plaintiff Malpasso is a

member of MSRPA.

         12.      Defendant William M. Pallozzi is the Maryland Secretary of State Police. As

Secretary, he exercises, delegates, or supervises all the powers and duties of the Maryland

Department of State Police. Under MD. CODE PUB. SAFETY § 5-301 et seq., Defendant Pallozzi is

responsible for executing, or delegating and supervising the execution of, Maryland’s laws

governing the carrying of handguns in public. His official address is Department of State Police,

1201 Reisterstown Road, Pikesville, MD 21208. He is being sued in his official capacity.

                                    FACTUAL ALLEGATIONS

                    Maryland’s “Good and Substantial Reason” Requirement

         13.      Maryland law generally forbids any person to “wear, carry, or transport a

handgun” in public, “whether concealed or open.” MD. CODE CRIM. LAW § 4-203(a)(1). First

time offenders who violate this prohibition are subject to imprisonment for up to three years, a


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fine of up to $2,500, or both. Id. § 4-203(c)(2)(i). Aggravated offenders may be sentenced to up

to 10 years in prison. Id. § 4-203(c)(4)(i).

       14.     In addition to other minor exceptions for law enforcement officers, active-duty

members of the U.S. Armed Forces, and the like, Maryland law allows an individual to carry a

handgun in public if he first obtains “a permit to wear, carry, or transport the handgun” from the

Maryland Secretary of State Police, Defendant Pallozzi. Id. § 4-203(b)(2); see also MD. CODE

PUB. SAFETY § 5-303.

       15.     To be eligible for such a permit (a “Handgun Carry Permit”), an applicant must

satisfy numerous criteria. For example, the applicant must be an adult, must not have been

convicted of any felony or any misdemeanor involving controlled substances, and must not be an

alcoholic or addict to any controlled substance. MD. CODE PUB. SAFETY § 5-306(a). An applicant

must also pass a background check, id. § 5305, must satisfy the Secretary, after investigation,

that the applicant “has not exhibited a propensity for violence or instability that may reasonably

render the person’s possession of a handgun a danger to the person or to another,” id. § 5-

306(a)(6)(i), and must have completed an extensive firearms safety training course, id. § 5-

306(a)(5).

       16.     In addition to these rigorous screening and training requirements, the Secretary

may issue a handgun carry permit only if he determines that the applicant “has good and

substantial reason to wear, carry, or transport a handgun, such as a finding that the permit is

necessary as a reasonable precaution against apprehended danger.” Id. § 5-306(a)(6)(ii).

       17.     Defendant Pallozzi has issued regulations implementing his power and authority

over handgun carry permits. See MD. CODE REGS. 29.03.01 et seq. Those regulations provide that

the investigation into an application for a handgun carry permit must determine “[t]he reasons




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given by the applicant for carrying, wearing, or transporting a handgun, and whether those

reasons are good and substantial,” and “[w]hether the permit is necessary as a reasonable

precaution for the applicant against apprehended danger.” Id. 29.03.02.03.B(12), (13).

       18.     Defendant Pallozzi has also issued an application form that applicants must use to

apply for a Handgun Carry Permit. The instructions for that form state that an ordinary law-

abiding citizen seeking to carry a handgun in public for “[p]ersonal [p]rotection” must provide

“documented evidence of recent threats, robberies, and/or assaults, supported by official police

reports or notarized statements from witnesses.” See Maryland Department of State Police,

Licensing Division Application at 2 (attached as Exhibit 1). And Maryland state courts have

decided—in opinions referenced and included in the Department of State Police’s webpage

concerning Handgun Application Permits, https://goo.gl/M1p5A1—that living in a high-crime

neighborhood or being subject to “vague threat[s]” are not sufficient “good and substantial

reasons” to obtain a permit—since if they were, “[e]ach person could decide for himself or

herself that he or she was in danger.” Snowden v. Handgun Permit Review Bd., 413 A.2d 295,

298 (Md. Ct. Spec. App. 1980) (emphasis added); see also Scherr v. Handgun Permit Review

Bd., 880 A.2d 1137, 1148–49 (Md. Ct. Spec. App. 2005).

       19.     Accordingly, typical law-abiding citizens of Maryland—the vast majority of

responsible citizens who cannot provide “documented evidence” of specific, recent threats to

their safety—effectively remain subject to a flat ban on carrying handguns outside the home.

               Defendant’s Refusal to Issue Plaintiffs Handgun Carry Permits

       20.     Plaintiff Malpasso is an adult citizen and resident of Maryland. He is not a law

enforcement official or a member of the armed forces, and he does not fall within any of the




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other exceptions enumerated in MD. CODE CRIM. LAW § 4-203(b)(1) to Maryland’s ban on

carrying handguns in public.

       21.       Plaintiff Malpasso does, however, possess all of the qualifications to obtain a

Handgun Carry Permit that are enumerated in MD. CODE PUB. SAFETY §§ 5-306(a)(1)–(5). He is

an adult, he has not been convicted of any felony, misdemeanor carrying a sentence of more than

a year imprisonment, or crime involving controlled substances; he is not an alcoholic, addict, or

habitual user of a controlled substance; he has successfully completed the firearms training

course required by Section 5-306(a)(5); and he has passed the background check required by

Section 5-305.

       22.       Plaintiff Malpasso does not have any concrete evidence of specific threats to his

safety. He does, however, desire to carry a handgun in public for the purpose of self-defense. Mr.

Malpasso lawfully owns several handguns which he keeps in his home to defend himself and his

family, and he would carry a handgun for self-defense when he is in public, were it not for

Defendant’s enforcement of Maryland’s ban on the public carrying of handguns.

       23.       On or about January 7, 2018, Plaintiff Malpasso applied to Defendant Pallozzi for

a permit to carry a handgun in public. Application of Brian Kirk Malpasso for a Handgun Permit

(Jan. 7, 2018) (attached as Exhibit 2).

       24.       After investigation, Defendant Pallozzi denied Plaintiff Malpasso’s application.

Maryland State Police, Notification of Denial (Mar. 23, 2018) (attached as Exhibit 3). Defendant

Pallozzi did not determine that Mr. Malpasso has ever “exhibited a propensity for violence or

instability,” MD. CODE PUB. SAFETY § 5-306(a)(6)(i); but he concluded that Mr. Malpasso has no

“good and substantial reason” to carry a handgun in public, because he did not provide evidence




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of any concrete, present fear for his safety, such as harassment, stalking, or documented threats

of violence. See Exhibit 3 at 1.

       25.      In light of Defendant’s denial of his application, Plaintiff Malpasso continues to

refrain from carrying a handgun outside the home for self-defense in Maryland. Plaintiff

Malpasso would carry a handgun in public for self-defense in Maryland where it lawful for him

to do so.

       26.      MSRPA has at least one member who has had an application for a Handgun Carry

Permit denied, by Defendant Pallozzi, solely for failure to satisfy the “good and substantial

reason” requirement. But for Defendant’s continued enforcement of the Maryland laws and

regulations set forth above, that member would forthwith carry a handgun outside the home for

self-defense.

                                           COUNT ONE

                         42 U.S.C. § 1983 Action for Depravation of
                   Plaintiffs’ Rights under U.S. CONST. amends. II and XIV

       27.      Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

       28.      The Second Amendment’s guarantee of “the right of the people to keep and bear

Arms” secures to law-abiding, responsible, adult citizens the fundamental constitutional right to

bear arms outside the home. U.S. CONST. amend. II.

       29.      This Second Amendment right to bear arms in public applies against the State of

Maryland under U.S. CONST. amend. XIV.

       30.      This Second Amendment right to bear arms in public cannot be subject to a

government official’s discretionary determination of whether a law-abiding citizen has a “good

and substantial reason” to exercise that right.




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       31.       A government restriction that limits the right to bear arms in public to only those

few, favored citizens who can demonstrate a specific, clear, and present threat to their safety

effectively operates as a flat ban on the carrying of handguns by typical law-abiding citizens,

who by definition cannot demonstrate this kind of atypical need to bear arms.

       32.       By infringing the Second Amendment right to bear arms in public in these ways,

the Maryland laws and regulations discussed in the foregoing allegations violate the Second

Amendment, which applies to Defendant by operation of the Fourteenth Amendment, both

facially and as applied to Plaintiff Malpasso and members of Plaintiff MSRPA, and they are

therefore invalid.

                                      PRAYER FOR RELIEF

       33.       WHEREFORE, Plaintiffs pray for an order and judgment:

                 a.     Declaring that Maryland’s “good and substantial reason” requirement

       violates the Second and Fourteenth Amendments and is thus devoid of any legal force or

       effect;

                 b.     Enjoining Defendant and his employees and agents from denying handgun

       carry permits to applicants on the basis of Maryland’s “good and substantial reason”

       requirement;

                 c.     Enjoining Defendant and his employees and agents from enforcing the

       Maryland laws and regulations establishing and defining the “good and substantial

       reason” requirement, including MD. CODE PUB. SAFETY § 5-306(a)(6)(ii) and MD. CODE

       REGS. 29.03.02.03.B(12) & (13);

                 d.     Ordering Defendant and his employees and agents to issue handgun carry

       permits to Plaintiff Malpasso and members of Plaintiff MSRPA;




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       e.      Awarding Plaintiffs their reasonable costs, including attorneys’ fees,

incurred in bringing this action, pursuant to 42 U.S.C. § 1988; and

       f.      Granting such other and further relief as this Court deems just and proper.



Dated: April 12, 2018                        Respectfully submitted,


                                             s/ Nicole J. Moss
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